in T nn warren s mines DISTRICT coURr“‘ ’ ‘:
FoR ran EASTERN nrsTchT or TEXAs__ r_ j
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case No.= i§oscva§ia

THE MODERN GROUP, LTD. and §
DRAGGN PRODUCTS, L'I`D., §
§
_ Plain tiffs, § S`URY DEMANB
§
v. §
§
WAS'§`EQU[P, INC., WASTEQUIP §
MANUFACTURING COMPANY, INC. and § Honorable Thad Hartiieid
GALBREATH, INC._, §
§
Defendants, §

SETTLEMENT ORDER AND FINAL CONSENT J`UDGMENT
AS BETWEEN ALL PLAINTIFFS AND DEFENDANTS

Plaintift`s, The Modern Group, Ltd. and Dragon Products, _Ltd., and Defendants,
Wastequip, tnc,, Wastequip Manufacturing Company, Inc., and Galbreath, lnc,, have settled this
litigation under the terms of a Settlement Agreement and stipulate to the entry of this Final

Consent .ludgnient as evidenced by their counsel’s signatures below.
i. This Court has jurisdiction over the parties and the subject matter of this action

2. Under the terms and conditions of a Settiement Agreement between Plaintiffs and
Det`endants, Which Settlernent Agreement is hereby incorporated by reference and made a part ot`
this Pinal Consent Judgrnent as though fully set forth in this `Final Consent Judgment, ali ot`
`Plaintift`s" claims and causes of action asserted in their Original Complaint llled December 5,
ZOOS against Dei`endants reiating solely to the one (l) previously manufactured accused product
are hereby dismissed With prejudice All of Det`endants’ claims and causes of action asserted in
their Counterclaim filed January 23, 2096 relating soiely to the one ( l) previously manufactured
accused product are hereby dismissed with prejudice Otherwise_. any remaining dismissals by
all narties is Without prejudice

3. rl`he jurisdiction of this Court is retained to enforce this Finai Consent .l`udginent

and the terms and conditions of the Settlenient Agreeinent.

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4. Each party shall bear its own costs_. expenses and attorney’s t`ees,

QRD.`ERED THIS §§ day ot"¢{£{ Lf@fl , 2006, in `Beanmont, Jeffersou County, Texas.

 
   

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AND DRAGON PRODUCTS, L'I`D.

 
  
 

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{_i'_EMi'.!"/f$, DOC;} }SETTLEMENT AGR EEMENT.d-.Jc

